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 8                                   UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         No. 2:05-cr-0243 WBS CKD P
12                      Plaintiff,
13           v.                                        ORDER
14   JARVIS MARQUEZ TUBBS,
15                      Defendant.
16

17           Defendant, a federal prisoner, has filed a motion seeking leave to amend a previously filed

18   motion to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255. Good cause

19   appearing, the motion for leave to amend will be granted.

20           Under Rule 4 of the Rules Governing Section 2255 Cases, the court must review all §

21   2255 motions and summarily dismiss any motion if it is plain that the defendant is not entitled to

22   relief. The court has conducted that review with respect to defendant’s amended § 2255 motion

23   and finds that summary dismissal is not appropriate. Therefore, plaintiff will be directed to file a

24   response.

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     Case 2:05-cr-00243-WBS-CKD Document 191 Filed 07/01/16 Page 2 of 2


 1           Accordingly, IT IS HEREBY ORDERED that:

 2           1. Defendant’s motion for leave to amend his motion to vacate, set aside, or correct his

 3   sentence pursuant to 28 U.S.C. § 2255 (ECF No. 189) is granted.

 4           2. The Clerk of the court is directed to file defendant’s amended § 2255 motion under its

 5   own docket heading.

 6           3. Plaintiff is directed to file an answer within sixty days. Plaintiff shall include with the

 7   answer any and all transcripts or other documents relevant to the determination of the issues

 8   presented in the amended motion.

 9           4. Defendant’s traverse, if any, is due on or before thirty days from the date respondent’s

10   answer is filed.

11   Dated: July 1, 2016
                                                       _____________________________________
12
                                                       CAROLYN K. DELANEY
13                                                     UNITED STATES MAGISTRATE JUDGE

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